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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                   )
                                           )
             v.                            )       CRIMINAL NO. ELH-14-0271
                                           )
KEYON PAYLOR,                              )
                                           )
       Defendant.                          )
                                       ********

                                           ORDER

       Having considered the grounds advanced in the government’s Motion to Unseal

Documents ECF 86 and 89, the Court finds that good cause has been shown in support of the relief

requested by the Motion. Accordingly, on this _____ day of March 2018, it is hereby:

       ORDERED that the requested Motion is GRANTED; and it is further

       ORDERED that the documents filed as ECF 86 and ECF 89 are UNSEALED.




                                                   _______________________________
                                                   The Honorable Ellen L. Hollander
                                                   United States District Judge
